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                                   3                                      UNITED STATES DISTRICT COURT
                                   4                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   7   IN RE:                                              Case No.: 13-MD-02420 YGR
                                   8            LITHIUM ION BATTERIES ANTITRUST            MDL No.: 2420
                                                LITIGATION
                                   9                                                       ORDER RE: PRODUCTION OF INFORMATION
                                                                                           PRODUCED TO GRAND JURY
                                  10

                                  11                                                       THIS DOCUMENT RELATES TO:
                                                                                           ALL CASES
Northern District of California




                                  12
 United States District Court




                                  13            The Court has considered the parties’ arguments with respect to Plaintiffs’ requests that
                                  14   Defendants produce the documents in this case that have already been produced to the Department
                                  15   of Justice or any Grand Jury. In this regard, the Court ORDERS the following:
                                  16
                                                1.     By April 26, 2013, Plaintiffs shall serve and file their specific document
                                  17            requests for the information that was produced to the Department of Justice or any
                                  18            Grand Jury.
                                  19            2.     By May 3, 2013, Defendants shall serve and file any objections. If an
                                  20            objection is that a request is overly burdensome, Defendants shall specify the nature
                                  21            of the burden, including without limitation, Defendants shall quantify the burden in

                                  22            terms of the number of pages at issue.

                                  23            3.     By May 10, 2013, Plaintiffs shall serve and file their responses to

                                  24            Defendants’ objections.

                                  25            IT IS SO ORDERED.
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                                       Date: April 19, 2013                                _______________________________________
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                                                                                                 YVONNE GONZALEZ ROGERS
                                  28                                                         UNITED STATES DISTRICT COURT JUDGE
